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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORD A

   UNITED STATES O F AM ERICA,

          Plaintiftl
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   VS.                                         CASE NO .12-2068-JJO

   FR ANCISCO CUBERO,

          Defendant.
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             A GREED ORDER GR ANTING UN OPPO SED M O TION FOR
      M OD IFICATIO N AND/OR C LARIFICATIO N O F C OND ITIO N S OF BO ND

          TH IS C AU SE cam e beforethe Courton D efendantFM N CISCO CUBERO 'S

   Unopposed M otion forM oditk ation and/orClarification ofConditionsofBond.A fter

   considering said M otion and being duly advised,itishereby

          O RDER ED Ae A DJUD GED thatthe Unopposed M otion forM odification

   and/orClaritk ation ofConditionsofBond isGRAN TED .

          FUR TH ER ORD ERED AND ADJUDG ED thatthe Defendantisallowed to

   W0rk atM ax M ed Clinic,located at2698 S.W .87thAvenue, M iam i,Florida 33165. All

   otherconditionsofbond rem ain in effect.
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          DON E AND O RDERED this          ;Ih dayo /f-
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                                                 LIA M C.TU OFF
                                                ITED S     S M A GIST        TE JUDGE

   Copiesto: M anuelGonzalez,Jr.,Esq.
            Vanessa S.Johannes,AU SA
            PretrialServicesOffice
             (KurtAlexander)
